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                            8                         IN THE UNITED STATES DISTRICT COURT
                            9                              NORTHERN DISTRICT OF CALIFORNIA
                           10    JONATHAN HOANG TO, JEFFRY HEISE,                )   CASE NO.: 3:24-CV-06447-WHO
                                 and JOSEPH MULL, individually and on            )
                           11    behalf of all others similarly situated,        )   [PROPOSED] ORDER GRANTING
B AKER & H OSTE TLER LLP




                                                                                 )   MOTION TO COMPEL
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                                              Plaintiff,                         )   ARBITRATION AND STAY
      L OS A NGELE S




                                                                                 )
                           13           v.                                       )   [Filed concurrently with Notice of Motion;
                                                                                 )   Motion; Memorandum of Points and
                           14    DIRECTTOU, LLC and ALLIANCE                     )   Authorities; and Declarations]
                                 ENTERTAINMENT, LLC,                             )
                           15                                                    )   Hearing:     April 16, 2025
                                              Defendants.                        )   Time:        2:00 PM
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                                                       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO COMPEL ARBITRATION AND STAY
                                                                                                          CASE NO.: 3:24-CV-06447-WHO
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                            1           Defendants DirectToU, LLC and Alliance Entertainment, LLC’s Motion to Compel
                            2    Arbitration was heard by this Court on April 16, 2025 via Zoom, with Judge William Orrick
                            3    presiding. Having considered the papers filed by the Parties, the documents and files in the Court’s
                            4    record for this case, and the arguments of counsel, and finding good cause therefore, IT IS
                            5    HEREBY ORDERED that:
                            6           1.      Defendants’ Motion to Compel Arbitration and Stay is GRANTED.
                            7           2.      Plaintiffs, should they wish to continue to pursue their legal claims, must do so in
                            8    individual arbitration as provided by the applicable Terms of Use.
                            9           3.      The action is stayed pending arbitration.
                           10           IT SO ORDERED.
                           11
B AKER & H OSTE TLER LLP




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   A TTORNEYS AT L AW




                                 Dated: _____________, 2025
      L OS A NGELE S




                                                                               The Honorable William H. Orrick
                           13                                                  United States District Court Judge
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                                                         [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO COMPEL ARBITRATION AND STAY
                                                                                                            CASE NO.: 3:24-CV-06447-WHO
